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UNITED STATES DISTRICT CouRT 'N CLERKS OFFICE
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District of Massachusetts ll 7 PHI2: 59

U.S. DISTRICT COURT

JOSE MARIA DECASTRO, an individual Case No. 1:22-cv-PiD ATS MASS,

Plaintiff, OPPOSITION TO DEFENDANTS’ EX
PARTE MOTION FOR EXTENSION OF
Vv. TIME TO RESPOND TO COMPLAINT

JOSHUA ABRAMS, an individual, et al., ORDER

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) OR, ALTERNATIVELY, TO STAY THE
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Defendants. )
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OPPOSITION TO DEFENDANTS’ EX PARTE MOTION FOR EXTENSION OF

 

TIME TO RESPOND TO COMPLAINT OR, ALTERNATIVELY, TO STAY THE

ORDER

Although I, Plaintiff DeCastro, have offered to mediate with Defendants Peter and
Abrams, they are sticking to their guns and refuse to even confer regarding this case. Peter and
Abrams continue to harass and defame me, even after being served. I am only aware of Peter’s
progress in responding to my complaint due to one of her YouTube videos where one of her
associates has mentioned that Peter has been anxious due to being unable to find an attorney to
represent her, that she will be consulting with an additional attorney on October 3, 2022, and that

she hopes to be able to file a motion for extension of time to answer.
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I don’t know on what day this court hears motions, but Peter seems to only have time for
an ex parte hearing. Since they were served, both defendants have made six YouTube videos
about me that in total are over 11 hours long. They seem more interested in causing more harm
to me than exercising their due diligence toward a defense. Additionally, Peter was initially
served on September 6, 2022 but tore up the process in front of the server, demanding to be
served under the state’s laws for service of process that requires a constable. Peter was aware of

the complaint before the return of service filed for September 15, 2022.

I would oppose any ex parte motion for extension of time to respond to my complaint by
either defendant unless they justify their need for ex parte relief, including that 1) their “cause
will be irreparably prejudiced” without it and 2) that it is “without fault in creating the crisis”.
United States ex rel. Lafond v.L-3 Communs. SSG Tinsley, Inc., No. 09-10231, 2013 U.S. Dist.
LEXIS 50561, at *4 (D. Mass. Apr. 8, 2013) and Mission Power Eng'g Co. v.Continental Cas.
Co., 883 F. Supp. 488, 489 (C.D. Cal. 1995). If there is an extension of time, it should be the

minimum required for this motion to be properly noticed.

I would have been willing to stipulate to an extension if I believed that Defendants had
been prejudiced, rather than intent to cause further harm. Defendant Peter alleges to have raised
over $18,000 dollars for her defense during a fundraiser on September 15, 2022. There is no
shortage of attorneys in the Boston area where Peter maintains her domicile. The defendants do
not have a right to counsel that will represent their frivolous defense. They can get help at the
Pro Se self help clinics if they insist on going against the recommendations during consultation

with attorneys for hire.
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I would have also stipulated to an extension of time if the defendants had shown interest
in settling this out of court and open to an agreement of restraint until after the trial. While I can
understand this court’s desire to settle cases on their merits instead of through default, I will
continue to suffer harm if an extension is allowed. My complaint includes transcriptions of video
evidence showing statements made by defendants that were defamatory per se combined with
my affidavit that they are untrue. Defendants have offered no defense because they cannot meet
the legal standard. If this court sees fit to grant a motion for extension of time, I pray that it will
grant my following motion for preliminary injunction so that my damages can be limited until

trial.

CONCLUSION
I respectfully request that the Court DENY Defendants’ ex parte application for an

extension of time to respond to the Complaint.

Dated: October 3, 2022

   

 

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